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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW HAMPSHIRE


KRISTINA RAPUANO, VASSIKI                        )
CHAUHAN, SASHA BRIETZKE,                         )
ANNEMARIE BROWN, ANDREA                          )
COURTNEY, MARISSA EVAN, AND                      )
JANE DOE,                                        )
                                                 )
                 Plaintiffs,                     )          Civil Action No. 1:18-cv-01070-JD
                                                 )
       v.                                        )
                                                 )
TRUSTEES OF DARTMOUTH                            )
COLLEGE,                                         )
                                                 )
                 Defendants.                     )


   Response of Defendants, Trustees of Dartmouth College, to Plaintiff Jane Doe’s
                   Motion to Proceed Under Pseudonym, Doc. 2
       Defendants, Trustees of Dartmouth College, respond to Plaintiff Jane Doe’s Motion to

Proceed Under Pseudonym, Doc. 2, as follows:

       Defendants do not oppose Plaintiff Jane Doe’s Motion at this time. However, Defendants

reserve their right to object at a later point in time if the use of a pseudonym interferes with

Defendants’ ability to defend or impacts the question of whether Plaintiff can act as a

representative of a putative class.

                                                     Respectfully Submitted,

                                                     TRUSTEES OF DARTMOUTH COLLEGE

                                                     By their attorney,

                                                     /s/ Joan A. Lukey
                                                     Joan A. Lukey (N.H. Bar ID #16246)
                                                     CHOATE HALL & STEWART LLP
                                                     Two International Place
                                                     Boston, Massachusetts 02110
            Case 1:18-cv-01070-LM Document 9 Filed 11/21/18 Page 2 of 2



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Date: November 21, 2018



                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 21, 2018, I caused a true and correct copy of the
foregoing Response, filed through the ECF system, to be served electronically on all counsel of
record identified on the Notice of Electronic Filing (and below) as registered participants, and
that copies will be sent via first class mail to those counsel who are not registered participants on
the ECF system.

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                                              /s/ Joan A. Lukey
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